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 8                                  UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                        Case No. 1:15-cr-00264-DAD-BAM-1
12                     Plaintiff,
13          v.                                        STIPULATION AND ORDER REGARDING
                                                      RESTITUTION
14   JUAN PENALOZA-HERRERA,
15                     Defendant.
16

17          Plaintiff United States of America, by and through its counsel of record, and defendant, by

18   and through his counsel of record, Matthew J. Lombard, hereby stipulate as follows:

19          1.     Pursuant to the terms of the plea agreement, the parties agree that the following

20                 language pertaining to restitution shall be utilized in the judgment of conviction:

21                 IT IS FURTHER ORDERED that the defendant shall pay restitution to the U.S.

22                 Forest Service in the amount of $10,198.60, payment to begin immediately.

23                 Restitution is to be sent to the Clerk of the Court, who shall forward it to the U.S.

24                 Forest Service, Albuquerque Service Center, Claims Management, 101B Sun

25                 Avenue NE, Albuquerque, New Mexico 87109, as set forth in the following table:

26   ///

27   ///

28   ///
                                                     1
     Case 1:15-cr-00264-DAD-BAM Document 70 Filed 06/20/17 Page 2 of 2


 1            RESTITUTION AMOUNT                               MEMO LINE INFORMATION
                    $1,719.38                           Joint and several restitution with co-defendant
 2                                                      Russell Lee Riggs
                                                        (1:15-cr-00264-DAD-BAM-2)
 3
                       $4,286.81                        Joint and several restitution with defendants
 4                                                      Juan Carlos Martinez-Tinoco (1:15-cr-00304-
                                                        DAD-BAM-2) and Luis Enrique Flores (1:15-
 5                                                      cr-00304-DAD-BAM-3)
                       $4,192.41                        Joint and several restitution with defendants
 6                                                      Macedonio Madrigal-Herrera (1:15-cr-00216-
                                                        LJO-SKO-1 ) and Ezequiel Armas-Ortiz
 7
                                                        (1:15-cr-00216-LJO-SKO-2)
 8                      TOTAL
                       $10,198.60
 9

10          IT IS FURTHER ORDERED that payment of restitution (without interest) is due during

11   imprisonment at the rate of not less than $25 per quarter and payment shall be through the Bureau

12   of Prisons Inmate Financial Responsibility Program.

13          IT IS SO STIPULATED.

14   DATED:        June 19, 2017.         Respectfully submitted,

15                                        PHILLIP A. TALBERT
16                                        United States Attorney

17                                        /s/ Karen A. Escobar___________________
                                          KAREN A. ESCOBAR
18                                        Assistant United States Attorney
19   DATED:        June 19, 2017.

20                                        /s/ Matthew J. Lombard
                                          MATTHEW J. LOMBARD
21
                                          Counsel for Juan Penaloza-Herrera
22

23                                              ORDER

24   IT IS SO ORDERED.
25
        Dated:    June 20, 2017
26                                                      UNITED STATES DISTRICT JUDGE

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                                                    2
